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  14 [Additional counsel continued on next page.]
  15
  16                         UNITED STATES DISTRICT COURT
  17              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  18
  19 VANESSA BRYANT, a California               Case No. 2:20-cv-09582-JFW-E
     Resident,
  20                                            JOINT MEDIATION REPORT
                  Plaintiff,
  21                                            Judge:        Hon. John F. Walter
           vs.
  22
     COUNTY OF LOS ANGELES, a                   Trial Date:     July 26, 2022
  23 public entity, et al.,
  24                  Defendants.
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                                    JOINT MEDIATION REPORT
Case 2:20-cv-09582-JFW-E Document 288 Filed 04/07/22 Page 2 of 5 Page ID #:27285




   1 [Additional counsel, continued from previous page:]
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  17 COUNTY OF LOS ANGELES, LOS ANGELES COUNTY FIRE DEPARTMENT,
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   1       JOINT REPORT REGARDING RESULTS OF FURTHER MEDIATION
   2              Pursuant to this Court’s February 4, 2022 Schedule of Trial and Pre-Trial
   3 Dates (see Dkt. 279), Plaintiff Vanessa Bryant (“Plaintiff”) and Defendants County
   4 of Los Angeles, Los Angeles County Sheriff’s Department, Los Angeles County
   5 Fire Department, Joey Cruz, Rafael Mejia, Michael Russell, and Raul Versales
   6 (collectively, “Defendants”), submit this Joint Report regarding the results of the
   7 parties’ further mediation.
   8              On March 21, 2022, Plaintiffs and Defendants in the remaining two related
   9 cases pending before this Court1 attended a further private mediation with the Hon.
  10 Louis Meisinger (Ret.). The parties mediated in good faith; lead trial counsel in all
  11 the cases attended; and representatives of each party with authority to settle each
  12 case participated. The parties engaged in a thorough analysis of the cases prior to
  13 the mediation and were prepared to and did discuss all economic and non-economic
  14 factors relevant to settling the cases.
  15              The parties were unable to reach a resolution at the mediation. The mediator
  16 is continuing to work with the parties to see if a resolution can be reached.
  17
  18 DATED: April 7, 2022                       WILSON SONSINI GOODRICH & ROSATI,
                                                Professional Corporation
  19
  20
  21                                            By:    / s / Luis Li
  22                                                  LUIS LI
  23
                                                Attorneys for Plaintiff Vanessa Bryant
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  26   1
       The two related cases are Bryant v. County of Los Angeles, Case No. 2:20-CV-
  27 09582-JFW-E, and Chester v. County of Los Angeles, Case No. 2:20-CV-10844-
  28 JFW-E.
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                                          JOINT MEDIATION REPORT
Case 2:20-cv-09582-JFW-E Document 288 Filed 04/07/22 Page 4 of 5 Page ID #:27287




   1 DATED: April 7, 2022               MILLER BARONDESS, LLP
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   3
                                        By: / s / Jason H. Tokoro
   4
                                           JASON H. TOKORO
   5
   6                                    Attorneys for Defendants County of Los
                                        Angeles, Los Angeles County Fire Department,
   7                                    Joey Cruz, Rafael Mejia, Michael Russell, and
   8                                    Raul Versales

   9
       DATED: April 7, 2022             OFFICE OF THE COUNTY COUNSEL
  10
  11
  12                                    By: / s / Jonathan C. McCaverty
  13                                       JONATHAN C. McCAVERTY
  14
                                        Attorneys for Defendant Los Angeles County
  15                                    Sheriff’s Department
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                                  JOINT MEDIATION REPORT
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   1                                 SIGNATURE ATTESTATION
   2
                  The other signatories listed, and on whose behalf the filing is submitted,
   3
       concur in the filing’s content and have authorized the filing.
   4
   5 DATED: Arpil 7, 2022                        MILLER BARONDESS, LLP
   6
   7
                                                 By:     / s / Jason H. Tokoro
   8
                                                       JASON H. TOKORO
   9
  10                                             Attorneys for Defendants County of Los
                                                 Angeles, Los Angeles County Fire Department,
  11                                             Joey Cruz, Rafael Mejia, Michael Russell, and
  12                                             Raul Versales

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                                           JOINT MEDIATION REPORT
